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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
vs.                                          ) Case No.: 4:16-cr-159-AGF
                                             )
LOREN A. COPP,                               )
                                             )
       Defendant.                            )

                                ENTRY OF APPEARANCE

       COMES NOW Joel J Schwartz, and hereby enters his appearance on behalf of the

Defendant in the above-styled cause.



                                             Respectfully submitted,

                                             ROSENBLUM, SCHWARTZ & FRY, PC


                                       By:   /s/ Joel J Schwartz
                                             JOEL J SCHWARTZ, #39066
                                             Attorney for Defendant
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
vs.                                          ) Case No.: 4:16-cr-159-AGF
                                             )
LOREN A. COPP,                               )
                                             )
       Defendant.                            )

                                CERTIFICATE OF SERVICE

       I hereby certify that on March 12, 2018, the foregoing was electronically filed with the
Clerk of the Court to be served by operation of the Court=s electronic filing system upon Ms.
Colleen C. Lang and Ms. Jennifer A. Winfield, assistant United States attorneys.

       Entry of Appearance

                                             ROSENBLUM, SCHWARTZ & FRY, PC


                                     By:     /s/ Joel J Schwartz
                                             JOEL J SCHWARTZ, #39066
                                             Attorney for Defendant
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